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                                                                                 FILED BY ��                  D.C.

                                                                                       JUN 1 0 2021
                                                                                       ANGELA E. NOBLE
                                                                                       CLERK U.S. DIST. CT.
                              UNITED STATES DISTRICT COURT                            S, D. OF FLA. - MIAMI

                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-20674-CR-GAYLES (s)(s)
                                       18 u.s.c. § 371
                                       18 u.s.c. § 670
                                       18 U.S.C. § 1956(a)(l)(B )
                                       18 U.S.C. § 1956(h)
                                       18 u.s.c. § 1341
                                       18 U.S.C. § 982(a)(l)
                                       18 U.S.C. § 981(a)(l)(C)


   UNITED STATES OF AMERICA

  vs.

   STEPHEN MANUEL COSTA,
   LEAH SOLOMON,
   DAVID RAMIREZ GARCIA, SR.,
   RUBEN REYNALDO RODRIGUEZ DIAZ,
   RAFAEL ANGEL ROMERO, and
   ANGEL CAMINERO ALVAREZ,

          Defendants.
   -------------
                             SECOND SUPERSEDING INDICTMENT

          The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

          1.      The distribution and sale of prescription drugs in the United States is subject to

   regulation under the Federal Food, Drug, and Cosmetic Act, Title 21, United States Code, Sections

   331 et. seq. The purpose of the law is to ensure that patients taking prescription drugs receive

   safe, effective, and properly labelled medicine.

          2.      Accordingly, federal law, including Title 21, United States Code, Section 360eee-

   1, generally requires that prescription drugs sold in the United States be accompanied by
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   transaction inform ation and history, beginning with the manufactlzrer, and covering each

   subsequent seller,identifying,nnnong other things,the product,the quantity,the 1otnumber,

   strength and dosage,the date ofeach sale,and the partiesto each transaction. Such t'
                                                                                      ransaction

   intbrmation and historiesarereferredto asGipedigrees.''

                 Theintroduction ordelivery forintroduction into interstatecom merce ofany drug

   thatisadulterated orm isbranded;thereceiptin interstatecom merceofany dnzgthatisadulterated

   orm isbranded and subsequentdelivery ofsuch drug isaviolation offederallaw,Title21,United

   StatesCode,Sections331(a)and(c).
                 A dnlg ism isbranded if itslabeling isfalse orm isleading,ptlrsuantto Title 21,

   United StatesCode,Section 352(a)(1). ttabeling''includesm itten,printed,orgraphicmatter
   thatisattachedto orthataccompaniesthe drug,orthatispat'tofan integrated distribution system

   andthatsupplem ents,explains,orprovidessubstantialinform ation abouttheproduct.

                 A dnlg isadulterated ifany substance hasbeen substitm ed in whole orin partfor

   thedrug,pttrsuanttoTitle21,United StatesCode,Section351(d).'
                 The aeceptmwe of ownersllip by a wholesale distributor of prescription drugs

   withouttransaction intbrmation and histoly (pedigree),and thefaillzreto provide atransaction
   statem ent,information and history to a subsequentputchaserofaprescription drug,isaviolation

   offederallaw,Title21,United StatesCode,Sections331(t)and360eee-1and360eee-3.
                                             CO U N T 1
                    C onspiracy to D eliver M isbranded and A dulterated D rugs
                                          18U.S.C.j371
          Paragraphs 1 through 6 of the General A llegations section of this Second Superseding

   lndidm entarerealleged and incop orated by reference asiffully setforth herein.

          From an Ilnknow n date atleastasearly as in orarotm d Januat'y 2013,and continuing until
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   on or about M ay 28,2019,in M inmi-Dade Cotmty,in the Southem Distdct of Flodda,and

   elsewhere,the defendant,

                                  STEPH EN NLKNU EL CO STA ,

   agreed,conspired, and com bined with Joshua Ryan Joles,M oham mad M ehdi Salem i,Frank

   Alvarez, Kadir Diaz,Jorge Isaac Paiz, Carlos Robin Gonzalez, and with others lcnown and

   llnknown to theGrandJuryto comm itoffensesagainsttheUnited States. Thatis,thedefendants

   conspired,with intentto defraud,

          (a)to introduce and deliver forintloduction into interstate commerce adulterated and
   misbrandeddnzgs,inviolation ofTitle21,UrlitedStatesCode,Sections331(a)and333(a)(2).
          (b)to receive in interstatecommerce and deliveradulterated and misbranded dnzgs,in
   violation ofTitle21,United StatesCode,Sections331(c)and333(a)(2),and
          (c)to provide and to acceptownership ofprescdption drugsaswholesale distributors
   withoutprovidingorobtainingtransactionhistoriesandirttbnnation asrequiredby Title21,United

   SatesCode,Section 360eee-1(c)(1)(A)(i)and (ii),in violation ofTitle21,United StatesCode,
   Sections331(t)and333(a)(2).
                         M AN N ER A N D M EAN S O F TH E C O N SPIR ACY

          The m nnnyr and m eans by which the defendant and his co-conspirators sought to

   accomplish the objectsofthe conspiracy included,thefollowing:(1)acquiring and establishing
   licensedpharmaceuticalwholesalecompaniesforthepurposeofcarrying outtheconspiracy'
                                                                                   ,(2)
   buying expensive prescription m edications,m ade to treatillnesses such as psychiatric disorders,

   cancer,andHIV infections,from sourceswhohadobtainedthem from theftandburglaryandfrom

   health care fraud,includingbuying them f'
                                           rom patientswho had receivedthem atgreatly reduced

   pricesthroughM edicareandM edicaid;(3)alteringthelabelingandpreparingfalseandfraudulent
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   pedigreesforprescdption dnzgsin ordertom akethem appearto havebeen senttotheconspirators

   through the legitimate m eans ofcomm erce directly f'
                                                       rom the manufacttlrers or otherestablished

   licensedwholesalers,and(4)introducingthem back intointerstatecommerceby sellingthem to
   phnrmacies. M edicines obtained in tllis m nnner are known as Gçdiverted phannaceuticals''or

   Gtdivez'ted drugs.'' Themedicinesultim ately were sold by retailersto unsuspecting patients.

                                           O VE RT A CT S

               lnfurtheranceoftheconspiracy,andtoachieveitsobjectives,atleastonememberof
   the conspiracy com m itted atleastone ofthe following overtacts,in the Southern District of

   Florida:

                  On oraboutApril19,2013,defendantStephen M anuelCostapresentedaproposal

   topurchaseW holesalersGroup,lnc.to thecompany'sownerin Bayam on,PuertoRico.

                  On oraboutJtm e 23,2013,defendantStephen M anuelC osta chartered a flighton

   Trim A irto be used to transportdiverted drtzgsfrom Florida to South Carolina.

                  On or about A ugust 27, 2013, defendant Stephen M anuel Costa provided

   $250,000to JorgePaiz to fm ancethepurchaseofDrogueriaLasRosasin PuertoRico.
                  On oraboutSeptem ber24,2013,defendantStephen M anuelCosta issued acheck

   for$260,000 9om an accounthecontrolled in thenam eofllxchangeto acom pany contTolledby
   M ahamm ad Salemi,to partially financethepurchase ofW holesalersGroup,Inc.inPuerto Rico.

          5.      On oraboutOctober17,2013,defendantStephen M anuelCostawire-transferred

   $100,000from RxchangetoW holesalersGroup,Inco,aspartoftheptlrchasepliceofW holesaler's
   Group,Inc.

          6.      From in or about January 2015,through in or about October 2015, defendant

   Stephen M anuel Costa provided an apartm enthe controlled at 5700 Southw est 60th Street in
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   M inm i,FloridatoFrnnk Alvarez and KadirDiazto useto processbottlesofziverted m edicines.
                 In oraboutJanuary 2016,defendantStephen M anuelCosta instnzcted JorgePaiz

   to w ire m oney to him to pay fora house Costa w asbuying.

                 On oraboutJanuaty 14,2016,JorgePaizwiretransferred approxim ately $384,000,
   obtained from salesofdiverted drugsby DrogueriaLasRosas,to the sellerofahouselocated at

   7441 southw est1251 A venuein M iam i, Floridato fmancethepurchaseofthehouseby defendant

   Stephen M anuelC osta.

          9.     In orabouttheearly'partof2016,DavidGarcia,Sr.advisedJoshuaJolesandothers

   atLLC W holesaleSupply LLC thatW holesalersGroup,lnc.shouldnotbesendingm edicineswith

   M iam i-origin shipping labels on the boxes when W holesaler's Group, Inc. was located in

   Redm ond,W ashington.

          10.    ln or about Jtme 2016,in M iam i, Florida, defendant Stephen M anuel Costa

   introduced Frank A lvarez to a person w ho w ould supply A lvarez w ith diverted phnnnaceuticals.

          11.     On or about M ay 16, 2017, defendmlt Stephen M anuel Costa received

   approxim ately $11,167,obtainedthrough salesofdiverted dnlgs,f'
                                                                 rom M ohammad Salem i.
                  On or about July         2017, defendant Stephen M anuel Costa received

   approxim ately $8,342,obtainedthrough salesofdiverted drugs,from M ohnm mad Salem i.

          13.     On or about July 3,2017,defendant Stephen M anuelCosta received $18,992,
   obtained through salesofdiveded drugs,from M ohnmm ad Salemi.

          14.     On or about D ecem ber 28,2018,D avid Garcia, Sr.sent an em ailto Josh Joles,

   advising him of defective bottles of m edicine that needed to be returned and m istakes in the

   invoicesforseveralshipm entsofmedicines.

          A11in violation ofTitle 18,Urlited StatesCode,Section 371.
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                                            C O U NT 2
              C onspiracy to Traffic in M edicalProductsw ith False D ocum entation
                                          18U.S.C.j670
          From an llnknown dateatleastasearly asin oraround January,2013,alld continuing lmtil

   on or about M ay 28,2019,in M inmi-Dade Cotmty,in the Southem District of Florida,and

   elsew here,the defendants,

                                STEPH E N M A N UEL CO STA and
                                D AW D R AM IR EZ G A R CIA ,Sr.,

   lcnow ingly and w illfully agreed,conspired,and com bined w ith Leah Solom on,Joshua Ryan Joles,

   M ohnmm ad M ehdiSalem i,Jorge lsaac Paiz,KadirDiaz,CarlosRobin Gonzalez and with others

   lcnown andllnknown tothe Grand Jury to knowingly and falsely m ake and alterthe labeling and

   docum entation ofpre-retailm edicalproducts,and to knowingly possess,transport,and traffic in

   pre-retailmedicalproductsinvolvingfalseand altered labeling and docum entation,in andusing a

   m eans and facility ofinterstate comm erce,in violation ofTitle 18,United States Code,Section

   670(a)(2)and(3);allinviolation ofTitle18,UnitedStatesCode,Section670(a)(6).
          Itisfurtheralleged,ptzrsuanttoTitle 18,United StatesCode,Section 670(c)(2)thatthe
   valueofthepre-retailm edicalproductswas$5,000 orgreater.
                                            COUNT 3
                            C onspiracy to C om m itM oney Laundering
                                        18U.S.C.j1956(h)
          From anllnknown dateatleastasearly asin oraround January 2013,and contirminguntil

   M ay 28,2019,in M inm i-Dade County,in the Southem Districtof Florida,and elsewhere,the

   defendants,

                                  STEPH EN M A NU EL CO STA ,
                                      LEM I SOL O M O N
                                  RAFAELANGELROMV 0,
                         R UBEN R EYN A LD O R O DR IG U EZ D G Z,and
                              A N G EL CAM IN ER O A LV AR EZ,
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   knowinglyandvoluntarily combined,conspired,and agreedwitheach otherandwith JoshuaRyan

   Joles,M ohnm m ad M ehdiSalem i,LeonidesH errera,Frnnk Alvarez,K adirD iaz,Jorge Isaac Paiz,

   Carlos Robin G onzalez,and A drian Cnm bara Ortiz and w ith others known and unknow n to the

   Grand Jlzry to comm itoffenses againstthe United States in violatitm ofTitle 18,United States

   Code,Sections 1956 and 1957,thatis:

       (a) to lcnowingly conduct tinancialtransactions affecting interstate commerce which
   involved the proceedsofspecified llnlawfulactivity,knowing thatthe property involved in the

   transactionsinvolved theproceeds ofsom eform ofunlawf'ulactivity,with the intentto prom ote

   the carrying on of specified tm law ful activity, in violation of Title 18, U .S.C. Section

   1956(a)(1)(A);
       (b) to knowingly conduct financialtransactions affecting interstate commerce which
   involved the proceedsofspecified unlawftzlactivity,knowing thatthe property involved in the

   transactionsinvolved the proceedsofsom eform ofl'nlawf'
                                                         ulactivity,knowing thatthefinancial

   transactions w ere designed in w hole or in part to conceal and disguise the nature, source,

   ownership and controloftheproceedsofspeciûedunlawfulactivity,in violation ofTitle 18U.S.C.

   Section 1956(a)(1)(B)(i),and
       (c) tolcnowinglyengageinmonetarytransactionsincriminallyderivedpropertyofavalue
   greaterthan $10,000,which wasderived f'
                                         rom specifiedtmlawfulactivitywithintheUnited States,

   inviolation ofTitle18,UnitedStatesCode,Section 1957(a).
          ltisfurther alleged thatthe specified tmlawfulactivity wasm ailfraud and wire fraud,in

   violation ofTitle 18 U .S.C .Sedions 1341 and 1343.

          AllinviolationofTitle18,United StatesCode,Sedion 1956(h).



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                                            CO UN T 4
                                        M oney L aundering
                                    18U.S.C.j1956(a)(1)(B)(i)
          On oraboutJuly 3,2017,in M iam i-Dade County,in the Southern DistrictofFlorida,the

   defendant,

                                  STEPH EN NG N UEL CO STA ,

   knowing thattheproperty involved represented the proceeds ofsome form oftmlawfulactivity,

   conducted a financialtransaction involving the proceeds ofspecified tmlawf'ulactivity,thatis,

   the wire transferof approxim ately $18,992 from accotmtntlm berXXX642 held atCitibank by
   M oham mad Salem ito Discovercreditcard accotmtnum ber* XX 104 held by Stephen Costa,

   ktlowing thatthetransaction was designed in whole orin partto concealordisguise the nature,

   sotlrce,om lership,orcontroloftheproceedsofspecified tmlawf'ulactivity,in violation ofTitle

   18,United StatesCode,Section 1956(a)(1)(B)(i).
          Itis f'urther alleged thatthe spedfied tm lawfulactivity ism ailfraud and wire fraud in

   violation ofTitle 18,United StatesCode,Sections 1341and 1343.

                                              rs s-q,..hs
                                          coux'
                                            M ailFraud
                                         18U.S.C.j1341
          From anunknown dateatleastaseady asin oraround January 2013,and continuinguntil

   on or about M ay 28,2019,in M iam i-Dade County,in the Southem Distrid of Florida,and

   elsewhere,the defendant,

                                  STEPH EN M A N UEL CO STA ,

   know ingly and w ith intent to defraud,devised and intended to devise a schem e and artifice to

   defraud,andto obtain m oney andproperty by m eansofm aterially false and fraudulentpretenses,

   representations,andpromises,knowingthatthepretenses,representationsandprom iseswerefalse


                                                 8
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   and fraudtllentwhen made,forthe pup ose of executing such schem e and artifice,knowingly

   delivered and caused to be delivered any m atter and thing to be sentand delivered by com m ercial

   interstate canier,accordingto the directionsthereon,andreceived such tllingstherefrom .

                                  PU R PO SE OF TIIE SCH EM E

          The purpose of the schenxe to defraud Nvas for the defendant and his acconaplices to

   unlawfully emich them selvesby sellingm isbranded,adulterated,and otherwisediverted drugsas

   ifthey werepartofthe legitim atephnrmaceuticalm arket.

                                TH E SCH EM E TO DEFM U D

          Aspartofthe schem e,thedefendantassisted and arranged forhis accom plicesto obtain

   and sellpharmaceuticals as ifthey had been obtained and keptthrough legitim ate methods of

   purchase,storage,transport,and sale of prescription phnrmaceuticals,and had been provided

   directly by the manufacturers,when in factthey were diverted dnzgs boughtâom patientswho

   had receivedthem atdiscotmtedpricesthrough M edicareand M edicaid,and obtained from health

   care fraud,cargo theft and phnrmacy blzrglaries. Such cInlgs may have been stored tm der

   im properconditions,and som e w ere notwhatthe labèlsrepresented them to be.

          ln ordertoeffecttzatetheirschem e,thedefendantassisted andarranged forhisaccomplices

   to selldrugswith altered labels,and prepared and caused the preparation ofpedigrees forsuch

   saleswhieh werecompletely fabricated andfalse,m ovidingfalseinform ation toultim ateitmocent

   ptzrchasersaboutthenatlzreandintegrity ofthedrugs,theirsources,and theirtransaction histodes,

   in orderto be able to sellthem atnorm alm arketprices. In orderto further disguise their origin,

   the drugs w ere shipped from Florida to Arizona w ith false
                                                             ' and fraudulent infonnation on the

   shipping recordsprovided to the interstate canier,m isidentifying the addressofthe shipper.

          Bypayingforsuchdiverteddrugsatexkem ely 1ow prioesandm arketingthem tophnrmacy


                                                   9
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   purchasersbelow thenormalpricesforlegitim atedrugs,thedefendantswereabletogeneratevery

   largeprofits,atthecostofjeopardizingthehealthofpatientswhollnknowinglyboughtthediverted
   drugs.

                             USE OF COM M ER CIM UINTERSTATE CARVTER
            On oraboutthedatesspecified in each cotmtbelow,forthepurpose ofexecuting and in

   furtherance ofthe A oresaid schem e and artifice to defraud,and to obtain m oney and property by

   m eansoffalseand fraudulentpretenses,representations,and prom ises,know ing thatthepretenses,

   representations,and prom ises were false and fraudulentwhen m ade,the defendantknowingly

   caused thefollowing shipm ents,nmong others,to be m ade by interstate carrieraccording to the

   directionsthereon,asm oreparticularly described below:


             Alproximate
                 Shipm ent     Shipm ent   Shipped
    Count          D ate        Details      B              Shi ed From                Shi ed To
      5      03/03/2017       One box      FedEx     KçW holesalersGroup US''   KGLLC W holesale Supply''
                                                       in M iam i,FL              in Tem e,AZ
      6      11/09/2017       One box      FedEx     RW holesalersGroup US''    CELLC W holesale Supply''
                                                       in M iam i,FL              in Tem e,AZ
      7      05/29/2018       Fourboxes FedEx        RM ohnmm ad Salem i''      tGW holesalersGroup US''
                                                       in M iam i,FL              in Bellevue,W A
      8      04/09/2019       Fourboxes FedEx        RM DS''                    (GW holesalersGroup U S''
                                                       in M iam i,FL              in Bellevue,W A

            ln violation ofTitle 18,U nited States Code,Section 1341.

                                    FO RFEIT UR E ALLE G ATIO N S
                                             (18U.S.C.j982(a)(1))
                                           (18U.S.C.j981(a)(1)(C))
            1.       The allegations contained in this Second Superseding lndictm ent are hereby re-

   alleged and by thisreferencefully incop orated herein forthepup oseofalleging forfeitaretothe

   U nited States of A m erica of certain property in w hich any of the defendants, STEPH EN

   G N UEL CO STA , LEAH SO LO M O N , DA W D G A R CIA , SR ., R U BEN R EY NM UD O


                                                       10
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   RO D R IG U EZ D IA Z,R AFAE L A N G EL R O M ER O ,and AN G EL CA M IN ER O A LV AR EZ ,

   have an interest.

          2.     Upon conviction ofa violation ofTitle 18,United States Code,Section 1956,as

   alleged in thisSecond Superseding lndictm ent,the defendantsshallforfeitto theU nited Statesany

   property,realor personal,involved in such offense,and any property traceable to such property,

   plzrsuanttoTitle 18,United StatesCode,Section 982(a)(1).
                 Upon conviction of a violation of Title 18,U nited States Code,Section 1341,as

   allegedin thisSecondSuperseding Indictment,thedefendantsshallforfeittotheUnited Statesany

   property,realorpersonal,which constitutesorisdedved from proceedstraceableto such offense,

   ptlrsuanttoTitle 18,United StatesCode,Section 981(a)(1)(C).
                 Thepropertysubjecttoforfeittlreasaresultoftheallegedoffensegsjincludes,but
   isnotlim itedto,thefollowing:

                  a. Net proceeds of the sale of real property located at 1801 162nd Avenue
                     N ortheast,Bellevue,W asllinglon 98008;

                  b. Realproperty located at7441 SW 125thAvenue, M inm i,Florida 33183;

                  c. A 11 flm ds fonnerly on deposit in account num ber 8100004795944 at Space
                     CoastCreditUnion in thennme ofC.ProDistributorsCorp;

                  d. Thefollowingbank accotmtsatBnnk ofAmerica:

                             accountnum ber 138118424806 in thenam eofA BA -BR OK ER S LLC;
                             and

                             accotmtnumber138124068094 inthename ofLeah Solomon.

                  e. $10,000.00 in U .S currency seized 9om              RUBEN REINALDO
                       RO D R IG UE Z DIA Z on Jtm e 23,2020.

                 Ifany ofthepropertysubjecttoforfeiture,asaresultofany actoromissionofthe
   defendants:


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                   cnnnotbelocated upon theexerciseofduediligence;

                b. hasbeent'
                           ransferred orsold to,ordepositedwith,athird party;

                   hasbeenplacedbeyondthejurisdictionofthecourq
                   hasbeen substantially dim inished in value;or

                   has been com m ingled with other property which cnnnot be divided without

                   difficulty.

     theUnited Statesshallbeentitled to forfeitm eofsubstituteproperty undertheprovisionsofTitle

     21,UnitedStatesCode,Section 853419..




             AllpursuanttoTitle18,United StatesCode,Sections982(a)(1)and 981(a)(1)(C)andthe
     procedlzres setforth in Title 21,United States Code,Section 853,as incorporated by Title 18,

     United StatesCode,Section 982(b)(1)andTitle28,UnitedStatesCode,Section2461(c).

                                                       A TRU E BILL


                                                       FOREPE SON



W A Txa
     l'
      xox TI
           soooSoTxz
                  ATw
                    Ec
                     Ss
                      An
                       zvoltxsv

         '           N
      FM N K H .TAM EN
      A SSISTAN T UN ITED STATES ATTO RN EY


4         r            F.
    1 w A LTER M .N ORIU N
      A SSISTM T UN ITED STATES A TTO RN EY
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                                        UM YEDSTATESDISTRICTCOURT
                                        SO UTH ERN DISTRIG O FFLOM A

  W     TED STATESO F AW W CA                         CAsENo. 19-20674-CR-GAYLES(s)(s)
   V.
                                                      C ERTIFICATE O F TRIA L ATTORN EYA
   STEPHEN MANUEL COSTA,etal.
                                                      SupersedingCaseInformation:
                             Defendants/
      courtDivision:tselectOne)                       Newdefendantts) I
                                                                      -Z Yes I
                                                                             --INo
   1-
    ?-1Miami N lfeyWest N FTL                         Numberofnewdefendants  5
   N WPB H FTP                                        Totalnumberofcotmts 10
         1. Ihavecarefully consideredtheallegationsoftheindictment,thenumberofdefendants,thenumberofproG ble
            witnessesandthelegalcomplexitiesoftheIndictm ent/lrtform ation attachedhereto.
         2. 1am awarethattheinform ation suppliedon thisstatem entwillbereliedupon by theJudgesofthisCourtin
            settingtheircalendarsand scheduling criminaltrialsunderthemandateoftheSpeedy TrialAct,
            Title28 U.S.C.Section 3161.
         3.Interpreter:(YesorNo) N0
            Listlanguageand/ordialect
         4. Thiscase willtake 10 daysforthepartiestotry.
         5. Pleasecheck appropriatecategory andtypeofoffense listedbelow :
               (Checkonlyone)                           (Checkonlyone)
          I 0to5days              E7l                  Petty             (7q
          11 6to10days            Iz                   Minor             (7q
          III 11to20days          (71                  Misdemeanor       IIIII
          IV 21to60days           (7l                  Felony             EEI
          V 61daysandover         (71
         6.HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo)Yes
            lfyes:Judge Darrin P.Gayles               caseNo. 19-20674-CR-GAYLES
            (Attachcopyofdispositiveorder)
            Hasacomplaintbeenfiledintlzismatter? (YesorNo) No
            lfyes:M agistrateCase N o.
            Relatedm iscellaneousnum bers:
            Defendantts)infederalcustodyasof
            Defendantts)instatecustodyasof
            Rule20 from theDistrictof
            Isthisapotentialdeathpenaltycase?(YesorNo) NO
         7. Doestlliscase originatefrom amatterpendingin theCentralRegionoftheU.S.Attorney'sOffice priorto
            August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
         8. Doesthiscase originatefrom amatlerpendingin theNorthern Region oftheU.S.Attorney'sOffice priorto
            August8,2014(M ag.JudgeShaniekMaynard?(YesorNo) No
         9. Doesthiscase originatefrom amatterpendingin theCentralRegionoftheU .S.Attorney'sOfficepriorto
            October3,2019(M ag.JudgeJared Strauss)?(YesorNo) No


                                                                         ''        q.
                                                                    Frank H.Tam en
                                                                    AssistantUni
                                                                               ted States Attorney
                                                                    FLA BarNo.      216289
'
hpenaltySheetts)attachi                                                                              REV 3/19/21
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                            UN ITED STA TES DISTRIC T C O UR T
                            SO U TH ER N D ISTW C T O F FLO R ID A

                                       PEN A LTY SH EET

   D efendant'sN am e: ST EPH EN M A N UE L C O STA

   CaseNo: 19-20674-CR-GAYLE(s)(s)

   Count#:1

   Conspiracy to D ealin M isbranded Drugs

    Title 18,United StatesCode,Section 371

   *M ax.Penalty: Five Years'lm prisonm ent

   Count#:2

   Conspiracy to Trafficin M edicalProductswith FalseDocum entation

   Title 18,U nited States Code,Section 670

   *M ax.Penalty: Fifteen Years'lmprisonm ent

   Count#:3

   M oney Latm dering Conspiracy

    Title18,UrlitedStatesCode,Section 1956(h)
   SrM ax.Penalty: Tw enty Y ears'Im prisonm ent

   Colm t#:4

   M oney Laundering

    Title18,UnitedStatesCode,Section 1956(a)(1)(B)(i)
   SrM ax.Penalty: Tw enty Y ears'Im prisonm ent
Case 1:19-cr-20674-DPG Document 311 Entered on FLSD Docket 06/14/2021 Page 15 of 19



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                      PENALTY SH EET

   Defendant'sNam e: STEPH EN M ANUEL COSTA

   CaseNo: 19-20674-CR-GAYLE(s)(s)

   Count#:5-8

   M ailFraud

    Title 18,U nited StatesCode,Section 1341

   *M ax.Penalty: Tw enty Years'Im prisonm ent




   *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:19-cr-20674-DPG Document 311 Entered on FLSD Docket 06/14/2021 Page 16 of 19




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                            SO U TH ER N D ISTR ICT O F FL OR IDA

                                      PENA LTY SH EET

   D efendant'sN am e: LEM '
                           I SO LO M O N

   CaseNo: 19-20674-CR-GAYLE(s)(s)

   Count#:3

   M oney Laundering Conspkacy

    Title 18,Urlited StatesCode,Section 1956(h)
   *M ax.Penalty:Tw enty Y ears'Im prisonm ent




   *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:19-cr-20674-DPG Document 311 Entered on FLSD Docket 06/14/2021 Page 17 of 19



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                             SO UTH ERN D ISTR ICT O F FL O R ID A

                                        PEN AL TY SH EET

   D efendant'sN am e: D A W D R AM IREZ GV CIA ,SR .

   CaseNo: 19-20674-CR-GAYLE(s)(s)

   Count#:2

   Conspiracy to Traffic in M edicalProductsw ith False D ocldm entation

   Title 18,U rlited StatesC ode,Section 670

   *M ax.Penalty: Tw enty Years'Im prisonm ent




   WR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
   specialassessm ents,parole term s,or fod eitures thatm ay be applicable.
Case 1:19-cr-20674-DPG Document 311 Entered on FLSD Docket 06/14/2021 Page 18 of 19



                            UNITED STATES DISTRICT COURT
                            SO U TH ER N DISTRIC T O F FLO R ID A

                                      PEN ALTY SH EET

   D efendant'sN am e: R AFA EL AN G EL R O M ER O

   CaseNo: 19-20674-CR-GAYLE(s)(s)

   Colmt#:3

   M oney Laundering Conspiracy

    Title18,UnitedStatesCode,Section 1956(h)
   *M ax.Penalty: Twenty Years'lm prisonm ent




   *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:19-cr-20674-DPG Document 311 Entered on FLSD Docket 06/14/2021 Page 19 of 19



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                            SO U TH ER N DISTRIC T O F FLO R IDA

                                      PEN A LTY SH EET

   D efendant'sN am e: R UB EN RO DR IG UE Z D IAZ

   CaseNo: 19-20674-CR-GAYIuE(s)(s)

   Collnt#:3

   M oney Laundering Conspiracy

    Title 18,United StatesCode,Section 1956(h)
   *M ax.Penalty: Tw enty Years'Im prisonm ent




   frR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
